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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                   No. CR S-99-0401 JAM EFB P

12          vs.

13   BRANDY VEGA TELLEZ,

14                  Movant.                       ORDER
                                         /
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16                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

18   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

19                  On February 24, 2012, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within fourteen days. Neither

22   party filed objections to the findings and recommendations within the prescribed period. On

23   March 29, 2012, this court adopted the findings and recommendations, granted respondent’s June

24   6, 2011 motion to dismiss, and directed the Clerk to close the companion civil case No. CIV S-

25   11-0838 JAM EFB.

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 1                  However, on March 28, 2012, movant filed objections to the findings and

 2   recommendations. On the same date, he also filed a notice explaining that his objections were

 3   untimely because he inadvertently mailed the objections to the United States District Court for

 4   the Central District of California. These filings did not appear on the docket until after the

 5   undersigned issued the order granting respondent’s motion to dismiss. In an abundance of

 6   caution, the court will consider his objections. Accordingly, the March 29, 2012 order adopting

 7   the findings and recommendations is vacated.

 8                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule

 9   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

10   file, the court again finds the findings and recommendations to be supported by the record and by

11   proper analysis.

12                  Accordingly, IT IS HEREBY ORDERED that:

13                  1. The findings and recommendations filed February 24, 2012, are adopted in

14   full;

15                  2. Respondent’s June 6, 2011 motion to dismiss is granted; and

16                  3. The Clerk is directed to close the companion civil case No. CIV S-11-0838

17   JAM EFB.

18   DATED: April 19, 2012

19                                                 /s/ John A. Mendez

20                                                 UNITED STATES DISTRICT COURT JUDGE

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